            Case 2:09-cr-00183-RSM        Document 51        Filed 06/09/09     Page 1 of 2



01

02

03

04

05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )            Case No. CR09-183-RSM
                                          )
10         v.                             )
                                          )
11   WILLIAM M. PERKINS,                  )            DETENTION ORDER
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offense charged:

15
             Count 1:      CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE, in
16                         violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846

17 Date of Detention Hearing:      June 9, 2009

18           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth,

20 finds:

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22           (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

23 defendant is a flight risk and a danger to the community based on the nature of the pending

24 charges. Application of the presumption is appropriate in this case.

25           (2)    Defendant has a lengthy criminal record and lengthy history of failures to

26 comply with Court orders.


     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
     PAGE 1
          Case 2:09-cr-00183-RSM           Document 51        Filed 06/09/09      Page 2 of 2



01          (3)     Defendant has a history of failures to appear.

02          (4)     Defendant has on-going substance abuse problems.

03          (5)     Defendant was warned that he was being wiretapped and attempted to flee

04 from police officers at the time of arrest.

05          (6)     Defendant is an active gang member and there is evidence from wiretaps that

06 he was actively supplying firearms to other gang members.

07          (7)     There are no conditions or combination of conditions other than detention that

08 will reasonably ensure the appearance of the defendant.

09          IT IS THEREFORE ORDERED:

10          (1)     Defendant shall be detained pending trial and committed to the custody of the

11 Attorney General for confinement in a correctional facility separate, to the extent practicable,

12 from persons awaiting or serving sentences or being held in custody pending appeal;

13          (2)     Defendant shall be afforded reasonable opportunity for private consultation

14 with counsel;

15          (3)     On order of a court of the United States or on request of an attorney for the

16 government, the person in charge of the corrections facility in which defendant is confined

17 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

18 connection with a court proceeding; and

19          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

20 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

21 Services Officer.

22          DATED this 9th day of June, 2009.

23

24
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
25

26


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 2
